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 6                           IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   Center for Biological Diversity, et al.,         No. CV-14-02506-TUC-RM
10                  Plaintiffs,                       ORDER
11   v.
12   Sally Jewell, et al.,
13                  Defendants.
14
15           Plaintiffs Center for Biological Diversity and Defenders of Wildlife filed this
16   action against Defendants Sally Jewell, then Secretary of the United States Department of
17   the Interior, and Daniel M. Ashe, then Director of the United States Fish and Wildlife
18   Service (collectively, “Federal Defendants”), challenging two interrelated agency actions.
19   (Doc. 1.)    First, Plaintiffs challenged Federal Defendants’ refusal to list the cactus
20   ferruginous pygmy owl as a threatened or endangered species under the Endangered
21   Species Act (“ESA”).          See 12-Month Finding on a Petition to List the Cactus
22   Ferruginous Pygmy-Owl as Threatened or Endangered with Critical Habitat (“Final
23   Pygmy Owl Finding”), 76 Fed. Reg. 61,856 (Oct. 5, 2011). Second, Plaintiffs challenged
24   the interpretation of the statutory phrase “significant portion of its range” promulgated by
25   the United States Fish and Wildlife Service and the National Marine Fisheries Service
26   (“NMFS”). See Final Policy on Interpretation of the Phrase “Significant Portion of Its
27   Range” in the Endangered Species Act’s Definitions of “Endangered Species” and
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 1   “Threatened Species” (“Final SPR Policy”), 79 Fed. Reg. 37,578 (July 1, 2014).1 On
 2   March 29, 2017, this Court entered summary judgment in favor of Plaintiffs and against
 3   Federal Defendants and Intervenor-Defendants National Association of Home Builders
 4   and Southern Arizona Home Builders Association. (Docs. 72, 73.)
 5           Pending before the Court is Federal Defendants’ F.R.C.P. 59(e) Motion to Alter or
 6   Amend the Court’s Judgment (Doc. 76). In the Motion, Federal Defendants ask the
 7   Court to correct what they purport to be an erroneous characterization of the NMFS’s
 8   listing determination for the African coelacanth. Federal Defendants also ask the Court
 9   to clarify that its remedy of vacating the Final SPR Policy is limited to the District of
10   Arizona and the substantive aspect of the policy found unlawful by the Court or,
11   alternatively, to remand without vacatur.
12   I.      Legal Standard
13           Amendment or alteration of a judgment is appropriate under Rule 59(e) of the
14   Federal Rules of Civil Procedure “if (1) the district court is presented with newly
15   discovered evidence, (2) the district court committed clear error or made an initial
16   decision that was manifestly unjust, or (3) there is an intervening change in controlling
17   law.” Zimmerman v. City of Oakland, 255 F.3d 734, 740 (9th Cir. 2001). A district court
18   may, in its discretion, disregard legal arguments that are made for the first time on a Rule
19   59(e) motion to amend. Id. Furthermore, a party may not introduce facts in a motion to
20   amend and claim that they constitute “newly discovered evidence” unless the facts were
21   previously unavailable. Id.
22   II.     African Coelacanth Listing Determination
23           In their summary judgment briefing, Federal Defendants cited the African
24   coelacanth listing determination as an example purportedly proving that proper
25   application of the Final SPR Policy could result in a determination that listing a species
26   was warranted based on threats in a significant portion of the species’ range. (See Doc.
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                    Although the Final SPR Policy was jointly issued by the United States Fish
28   and Wildlife Service and the NMFS, Plaintiffs did not include the NMFS as a defendant
     in this action, and the NMFS did not seek to intervene.

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 1   57 at 13-14.)2     The Court found that the language contained in the final listing
 2   determination for the African coelacanth did not support Federal Defendants’ position.
 3   (See Doc. 72 at 13-14.) Federal Defendants now argue that, by relying upon language
 4   contained in the final listing determination for the African coelacanth instead of language
 5   contained in the proposed listing determination, the Court erroneously characterized the
 6   listing determination. To support their argument, they attach a declaration from Angela
 7   Somma, Chief of the Endangered Species Conservation Division within the NMFS Office
 8   of Protected Resources.      (Doc. 76-1.)    The Somma declaration indicates that the
 9   reasoning set forth in the final listing determination for the African coelacanth was an
10   incomplete summary of the agency’s actual reasoning, and it urges the Court to look to
11   the proposed listing determination for clarification.
12          The Somma declaration is not part of the administrative record, and it does not
13   constitute newly discovered evidence that was previously unavailable. Furthermore, the
14   propriety of the African coelacanth listing determination is not at issue before this Court.
15   The Court addressed the listing determination in its prior Order only because Federal
16   Defendants relied on it in support of their argument that the Final SPR Policy gives
17   independent meaning to the statutory phrase “significant portion of its range.” Federal
18   Defendants’ new arguments concerning the African coelacanth listing determination
19   could have been raised earlier, and they do not alter the Court’s conclusion that the Final
20   SPR Policy renders the SPR language of the ESA superfluous.
21          As explained in the Somma declaration, the proposed African coelacanth listing
22   determination contains language—not contained in the final listing determination—which
23   tracks the Final SPR Policy’s definition of significance. See Proposed Rule to List the
24   Tanzanian DPS of African Coelacanth as Threatened Under the Endangered Species Act,
25   80 Fed. Reg. 11,363, 11,374 (Mar. 3, 2015). However, both the proposed and final
26   listing determinations contain other language which appears to apply a different, more
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                   Record citations refer to the page numbers electronically generated by the
     Court’s electronic filing system.

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 1   lenient definition of significance. See id.; Final Rule to List the Tanzanian DPS of
 2   African Coelacanth (Latimeria chalumnae) as Threatened Under the Endangered Species
 3   Act, 81 Fed. Reg. 17,398, 17,401 (Mar. 29, 2016). Due to this imprecision in language, it
 4   remains unclear whether the Final SPR Policy was accurately applied to the African
 5   coelacanth. Furthermore, it is unclear why NMFS did not find the African coelacanth
 6   threatened overall based on the concentrated threats in the Tanzanian portion of its range.
 7   If “the effect of extinction throughout” the Tanzanian portion of the African coelacanth’s
 8   range “is the threat of extinction everywhere,” as NMFS found, “then the threat of
 9   extinction throughout” the Tanzanian portion of the African coelacanth’s range “is
10   equivalent to the threat of extinction throughout all its range.” Defenders of Wildlife v.
11   Norton, 258 F.3d 1136, 1141 (9th Cir. 2001) (emphasis in original).
12         Regardless of whether the Final SPR Policy’s definition of significance was
13   properly applied to the African coelacanth, the fact remains that Defendants have not
14   identified any instance in which application of the Final SPR Policy resulted in a species
15   being listed as endangered or threatened due to its status in a significant portion of that
16   species’ range. The African coelacanth was, ultimately, not listed based on its status in a
17   significant portion of its range; it was listed based on threats to a distinct population
18   segment (“DPS”). See 81 Fed. Reg. at 17,401. Rather than proving that the Final SPR
19   Policy gives independent meaning to the SPR language of the ESA, the African
20   coelacanth listing determination actually raises additional concerns regarding the Final
21   SPR Policy.     Specifically, the listing determination illustrates how the interaction
22   between the Final SPR Policy and the agency’s policy interpreting the DPS language of
23   the ESA serves to narrow even further the potential circumstances in which the SPR
24   language of the ESA could have any practical effect.          See Policy Regarding the
25   Recognition of Distinct Vertebrate Population Segments Under the Endangered Species
26   Act (“Final DPS Policy”), 61 Fed. Reg. 4,722 (Feb. 7, 1996). Both the Final DPS Policy
27   and the Final SPR Policy require significance findings, and although the definitions of
28   significance differ in the two policies, see 79 Fed. Reg. at 37,585, there is overlap.


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 1   Compare id. at 37,581, with 61 Fed. Reg. at 4,725. Under the Final SPR Policy, if a
 2   “species is not endangered or threatened throughout all of its range, but it is endangered
 3   or threatened within a significant portion of its range, and the population in that
 4   significant portion is a valid DPS,” the agency “will list the DPS rather than the entire
 5   taxonomic species or subspecies.” 79 Fed. Reg. at 37,579. This provision—by further
 6   limiting the already exceedingly rare if not entirely illusory potential circumstances in
 7   which application of the Final SPR Policy could result in the listing of a species based on
 8   the species’ status in a significant portion of its range—supports the Court’s conclusion
 9   that the Final SPR Policy interprets the statutory phrase “significant portion of its range”
10   so narrowly as to render the phrase “entirely superfluous in all but the most unusual
11   circumstances.” TRW Inc. v. Andrews, 534 U.S. 19, 29 (2001).
12          “It is a cardinal principle of statutory construction that a statute ought, upon the
13   whole, to be so construed that, if it can be prevented, no clause, sentence, or word shall
14   be superfluous, void, or insignificant.” Id. at 31 (internal quotation marks omitted). The
15   addition of the “significant portion of its range” language to the ESA “represented a
16   significant shift in the definition in existing law which consider[ed] a species to be
17   endangered only when it is threatened with worldwide extinction.” Defenders of Wildlife,
18   258 F.3d at 1144 (internal quotation marks omitted). By interpreting the SPR language
19   so narrowly that “it would in practical effect render” the language “entirely superfluous
20   in all but the most unusual circumstances,” the Final SPR Policy not only violates a
21   cardinal principle of statutory construction, TRW Inc., 534 U.S. at 29, but also
22   contravenes congressional intent that the addition of the SPR language represented “a
23   significant change” to the ESA, Defenders of Wildlife, 258 F.3d at 1144.
24          Federal Defendants have not shown that this Court clearly erred in determining
25   that the Final SPR Policy impermissibly renders key statutory language superfluous.
26   III.   Vacatur of the Final SPR Policy
27          In its summary judgment order, the Court rejected numerous challenges made by
28   Plaintiffs with respect to the Final SPR Policy but agreed with Plaintiffs that the policy


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 1   failed to give independent meaning to the statutory phrase “significant portion of its
 2   range.” The Court clarifies that its vacatur of the Final SPR Policy was intended to be
 3   limited to the one aspect of the policy found unlawful by the Court, i.e., the manner in
 4   which the policy defines the statutory phrase “significant portion of its range.”
 5          In addition to asking the Court to clarify that its vacatur of the Final SPR Policy is
 6   limited to the one aspect of the policy found unlawful by the Court, Federal Defendants
 7   also ask the Court to limit the vacatur to the District of Arizona or, alternatively, to
 8   remand without vacatur.       Federal Defendants could and should have raised these
 9   arguments during summary judgment briefing. Plaintiffs requested vacatur of the Final
10   SPR Policy in their Motion for Summary Judgment (Doc. 52 at 45), as well as in their
11   proposed order (Doc. 52-5). Federal Defendants were on notice that Plaintiffs were
12   requesting vacatur of the policy, and they had ample opportunity to respond to that
13   request. Federal Defendants complain that they had to address numerous arguments
14   “within fairly tight page limits,” and that they could not adequately address remedy issues
15   without knowing the Court’s decision on the merits of Plaintiffs’ challenges. (Doc. 79 at
16   5; see also Doc. 76 at 4 n.3.) However, the page limitations applicable to Federal
17   Defendants’ summary judgment briefs were jointly proposed by the parties themselves.
18   (See Doc. 13 at 7; Doc. 14 at 2.) Federal Defendants never moved for leave to exceed the
19   summary judgment page limitations, and they never requested an opportunity to submit
20   supplemental briefing on remedy issues.
21          Although Federal Defendants’ arguments could and should have been raised
22   earlier, the Court will consider the arguments because they implicate Plaintiffs’ Article
23   III standing. Federal Defendants failed to contest Plaintiffs’ standing prior to entry of
24   judgment. However, Article III standing limits are jurisdictional and cannot be waived.
25   City of Los Angeles v. City of Kern, 581 F.3d 841, 845 (9th Cir. 2009). To establish
26   Article III standing, Plaintiffs must satisfy three elements.       Lujan v. Defenders of
27   Wildlife, 504 U.S. 555, 560 (1992). First, they must show that they have suffered an
28   “injury in fact,” which is “concrete and particularized” and “actual or imminent.” Id.


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 1   (internal quotation marks and citations omitted). Second, they must show that the injury
 2   is “fairly traceable to the challenged action of the defendant.” Id. (internal quotation
 3   marks and alteration omitted). Third, they must show that the injury will likely “be
 4   redressed by a favorable decision.”        Id. (internal quotation marks omitted).        An
 5   organization whose members have suffered an injury in fact “may represent those
 6   members in a proceeding for judicial review.” Sierra Club v. Morton, 405 U.S. 727, 739
 7   (1972).   However, the Administrative Procedure Act (“APA”) does not “authorize
 8   judicial review at the behest of organizations or individuals who seek to do no more than
 9   vindicate their own value preferences through the judicial process.” Id. at 740. An
10   organizational interest in the problem of environmental protection, “no matter how
11   longstanding the interest and no matter how qualified the organization is in evaluating the
12   problem, is not sufficient by itself to render the organization adversely affected or
13   aggrieved within the meaning of the APA.” Id. at 739 (internal quotation marks omitted).
14          During summary judgment briefing, Plaintiffs submitted affidavits to establish
15   their Article III standing. (See Doc. 52-1, 52-2, 52-3, 52-4.) The affidavits are sufficient
16   to establish standing with respect to the Final Pygmy Owl Finding and the Final SPR
17   Policy as applied in the District of Arizona. However, the Court agrees with Federal
18   Defendants that the affidavits are insufficient to establish Article III standing to challenge
19   the Final SPR Policy nationwide. See Lujan v. Nat’l Wildife Fed’n, 497 U.S. 871, 891
20   (1990) (“a regulation is not ordinarily considered the type of agency action ‘ripe’ for
21   judicial review under the APA until the scope of the controversy has been reduced to
22   more manageable proportions, and its factual components fleshed out, by some concrete
23   action applying the regulation to claimant’s situation in a fashion that harms or threatens
24   to harm him”). To address concerns regarding Article III standing and the propriety of
25   nationwide vacatur, the Court will grant Federal Defendants’ request to amend the
26   Court’s prior judgment to limit vacatur of the Final SPR Policy to the District of Arizona.
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28   ....


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 1          IT IS ORDERED that Federal Defendants’ Motion to Amend (Doc. 76) is
 2   granted in part and denied in part. The Court hereby amends its March 29, 2017
 3   Order and Judgment (Docs. 72, 73) to limit vacatur of the Final SPR Policy to the District
 4   of Arizona and to clarify that the only portion of the Final SPR Policy being vacated and
 5   remanded for further consideration is the portion found unlawful in the Court’s March 29,
 6   2017 Order (Doc. 72). Federal Defendants’ Motion to Amend is denied in all other
 7   respects.
 8          Dated this 25th day of October, 2017.
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